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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ALEX NELSON and IRIS NELSON,                    )
                                                )
              Plaintiffs,                       )
                                                )
v.                                              )   Cause No. 4:18-cv-01561-JCH
                                                )
CITY OF ST. LOUIS, MISSOURI, et al.,            )
                                                )
       Defendants.                              )

                                 ENTRY OF APPEARANCE

       COMES NOW, Nathaniel R. Carroll of ArchCity Defenders, Inc., and enters his

appearance as co-counsel on behalf of the Plaintiffs in the above-styled cause number.

Dated: August 13, 2020.                             Respectfully Submitted,

                                                    /s/ Nathaniel R. Carroll
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